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Susman Godfrey l.l.p.

September 7, 2024
Hon. Ona T. Wang
Southern District of New York
500 Pearl Street
New York, New York 10007

              Re:     The New York Times Company v. Microsoft Corporation, et al.,
                      Case No.: 23-cv-11195-SHS: Errata to The Times’s Opposition to
                      OpenAI’s Motion to Compel at Dkt. 238
Dear Magistrate Judge Wang:

       Please take notice of the following errata and correction to Plaintiff The New York Times
Company’s Letter Response in Opposition to OpenAI’s September 3 request to compel the
production of documents. Dkt. 238. Citations in the Letter Response in Opposition and Exhibit 1
were incorrect or missing. A substitute Letter Response and Exhibit 1 with those corrections are
attached.


                                                   Respectfully submitted,

                                                   /s/ Ian B. Crosby
                                                   Ian B. Crosby
                                                   Susman Godfrey L.L.P.

                                                   /s/ Steven Lieberman
                                                   Steven Lieberman
                                                   Rothwell, Figg, Ernst & Manbeck

 cc:   All Counsel of Record (via ECF)
